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Attorneys for Defendant


                          IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF UTAH, CENTRAL DIVISION



  ALINE FINNEMAN, an individual,                  REPLY IN SUPPORT OF MOTION FOR
                                                  LEAVE TO FILE OVERLENGTH REPLY
                 Plaintiff,                          IN SUPPORT OF MOTION FOR
                                                        SUMMARY JUDGMENT
     v.
                                                            Case No.: 2:19-cv-00327
  DELTA AIRLINES, INC., a Delaware
  corporation,                                        District Judge Howard C. Nielson, Jr.

                 Defendant.                            Magistrate Judge Cecilia M. Romero

       Pursuant to Rule 7 of the Federal Rules of Civil Procedure and local rule DUCivR 7-1,

Defendant Delta Air Lines, Inc. (“Delta”) respectfully submits this reply memorandum

(“Reply”) in support of its motion for leave to file an overlength summary judgment reply

(“MSJ Reply”).
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                                              ARGUMENT

          I.    Principal Response to Plaintiff’s Opposition.

        To paraphrase Shakespeare, “me thinks thou dost protest too much.” Knowing that her

case cannot withstand summary judgment, plaintiff Aline Finneman (“Plaintiff”) has filed a

myriad of pleadings trying to suppress the truth. But, at the end of the day, it is completely

within this Court’s discretion whether to use the reconciliation. It is that simple.

        As it always does, Delta’s counsel put together a detailed reconciliation exhibit to aid the

Court in its analysis. That reconciliation is a tool that has been complimented, and specifically

asked for, by judges on this Court, and has not ever been subject to any page limit. Undersigned

counsel still believe the Court will find it helpful, and in any event, the reconciliation clearly

does not violate, and is entirely within, the rules.

        In its previous brief Delta stated:

        Delta has gone to the time and expense to put together this Reconciliation because
        it thinks it will be a helpful tool for the Court. It primarily consists of a comparison
        of, and citation to, the various deposition testimony and other evidence already
        before the Court. It is certainly in the Court’s discretion to consider all, none, or
        part of this Reconciliation. For example, if the Court so chooses, it could decide to
        only use the citations to the various deposition pages and other evidence found in
        the Reconciliation, and itself look up each cite and decide on its own what the Court
        believes to be an accurate picture of the facts and relevant evidence. Certainly,
        Plaintiff cannot object to this. In any event, all of this is discretionary to the Court,
        and Delta and its counsel have simply put together what it has always done as a
        useful tool for the Court.

(Dkt. No. 59 at 4-5.)

        The fact that Plaintiff has not responded to this argument speaks volumes. Instead,

Plaintiff’s loud and repeated protestations on unrelated issues make it obvious that Plaintiff does

not want the Court to delve into her “factual” citations because doing so would require the



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dismissal of her case.

       To the extent the Court is interested in having Delta respond to the numerous misguided

and false arguments in Plaintiff’s latest brief, the remainder of this memorandum will address

such arguments. But, at the end of the day, the issues—i.e. whether to accept the reconciliation

as filed, or whether the Court prefers to grant leave to file an overlength brief—is entirely up to

the Court and within the Court’s discretion.

         II.   Additional Response to Plaintiff’s Opposition.

       Plaintiff’s opposition memorandum includes a number of hollow arguments, some of

which are plainly wrong, others that rely on logical fallacies, and still others which require the

Court to ignore one of the most basic and fundamental canons of textual interpretation. While

many (if not all) of Plaintiff’s arguments are inapposite, those that are even arguably relevant are

proven incorrect below. The ultimate takeaway is that Plaintiff has not, and cannot, address the

glaring hole in her objection and her opposition – that there is no authority for her position that

Delta’s reconciliation exhibit was improper. Thus, while Delta firmly believes that the Court

will overrule Plaintiff’s objection and consider Delta’s MSJ Reply and reconciliation, as filed, in

the unlikely event that the Court finds that a motion for overlength brief is preferred, Delta’s

request for retroactive leave should be granted.

       Plaintiff argues that the text of local rules DUCivR 7-1(a)(4)(B) and DUCivR 7-1(a)(5)

supposedly prohibit Delta from filing a reconciliation of facts as an exhibit to its MSJ Reply.

(Opp’n at 2.) To reach this conclusion, Plaintiff wholly ignores one of the most basic and

fundamental canons of textual interpretation: when a drafter of a text “includes particular

language in one section . . . but omits it in another, the court presumes that the drafter intended a



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difference in meaning.” Utah Physicians for a Healthy Env’t v. Kennecott Utah Copper, LLC,

191 F. Supp. 3d 1287, 1295 (D. Utah 2016) (cleaned up).

         Specifically, while the Court’s local rules specify exactly what must be included in the

body—and thus count toward the page limit—of motions for summary judgment and summary

judgment opposition briefs, there are no such specifications for summary judgment reply briefs.

Compare DUCivR 56-1(b) and DUCivR 56-1(c), with DUCivR 56-1(d). In fact, the local rules

go so far as to specify that, “if applicable,” the body of an opposition brief must include any

“additional material facts.” DUCivR 56-1(c)(4). On the other hand, the rules do not require,

even “if applicable,” that the body of a reply brief include a section addressing an opposition’s

additional material facts. DUCivR 56-1(d). Clearly the Local Rules Committee knows how to

require that certain material be included in the body of a brief (and thus subject to applicable

page limits), so it easily could have done so for reply briefs had it wanted to. It is black-letter

law that, absent any other indication, the proper presumption is that this difference was

intentional. 1

         Ignoring this plain and obvious reading, Plaintiff erroneously argues that a party could

file a ten-page motion for summary judgment, and then include “hundreds of pages” of facts and

argument in an exhibit. (See Opp’n at 3, n.2.) As stated above, the local rules require a motion

for summary judgment to include the material facts and argument in the body of the motion.

DUCivR 56-1(b)(3), (4). Thus, even a basic reading of the rules makes clear that Plaintiff’s



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  The same holds true with regard to when a reply is allowed, and makes clear that Plaintiff’s reply in support of her
objection was not proper. Compare, e.g., DUCivR 7-1(a)(4)(A); DUCivR 7-1(a)(4)(B); DUCivR 7-1(a)(4)(C); and
DUCivR 7-1(a)(4)(D) (all explicitly setting forth timing for a motion, response, and reply) with DUCivR 7-1(b)
(only setting forth timing for objection and response). That being said, to avoid burdening the Court with additional
unnecessary briefing, Delta decided NOT to move to strike Plaintiff’s reply brief, even though it was clearly outside
the rules.

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imagined scenario would not ever be allowed.

         Finally, while Plaintiff is correct, and Delta specifically acknowledges, that the rules

direct parties to seek leave before filing an overlength brief, she does not—and cannot—dispute

the Court’s discretion to grant leave retroactively, including in the case of a mistake. While the

Court in Reifenberger granted retroactive leave based on a mistake (just as this Court previously

did in this very case), the same rationale would equally apply here. 2

         Specifically, there is no rule clearly stating that Delta’s reconciliation exhibit counts

toward any page limit, and undersigned counsel is not aware of any authority that would support

Plaintiff’s position that Delta’s reconciliation was improper (and apparently neither is Plaintiff).

Moreover, undersigned counsel has engaged in this practice for years, without issue or

complaint. And undersigned counsel is clearly not alone. See, e.g., Gardner v. Deseret Mut.

Benefit Administrators, No. 2:14-CV-00602, 2016 WL 1169463, at *1 (D. Utah Mar. 22, 2016)

(defendant filed as an exhibit to reply brief, without leave or issue, a seventy-page response to

the statement of additional facts in plaintiff’s opposition brief). (See Dkt. No. 25-1 to Case No.

2:14-cv-00602.)

         Given the foregoing, Delta can hardly be faulted for not seeking prior leave for an

overlength brief in connection with its reconciliation, where it clearly did not (and still does not)

believe such a motion was necessary, and where neither party is able to identify any authority

requiring an overlength motion on the facts before the Court. Thus, in the unlikely event that

Delta’s MSJ Reply is considered overlength, then it is clearly the result of an excusable mistake.


2
 Plaintiff also argues that Delta’s motion for overlength brief is an acknowledgment that Delta is operating outside
of the rules. (Opp’n at 4.) It bears repeating that Delta does not believe that its motion for overlength brief is
necessary, and that the Court may, and should, consider, Delta’s MSJ Reply and the reconciliation exhibit as
originally filed.

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       In sum, Delta fully expects that the Court will overrule Plaintiff’s objection and that

Delta’s motion for leave to file an overlength reply brief will ultimately be irrelevant. However,

even if the Court finds that leave for an overlength brief is necessary, the foregoing provides

sufficient good cause for the Court to grant Delta’s motion.

       DATED this 15th day of February, 2022.

                                              RAY QUINNEY & NEBEKER P.C.
                                               /s/ Jascha K. Clark
                                              Frederick R. Thaler
                                              David B. Dibble
                                              Jascha K. Clark

                                              Attorneys for Defendant




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                                   CERTIFICATE OF SERVICE

          I hereby certify that on this 15th day of February, 2022, I caused a true and correct copy

of the foregoing REPLY IN SUPPORT OF MOTION FOR LEAVE TO FILE

OVERLENGTH REPLY IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT to

be filed with the Clerk of Court using the Court’s ECF System which sent notice to the

following:

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                                                /s/ TerriAnne Gillis




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